 Case 21-03020-sgj Doc 116 Filed 09/20/21         Entered 09/20/21 16:44:14       Page 1 of 5



 LATHAM & WATKINS LLP                            BUTLER SNOW LLP
 Andrew Clubok (pro hac vice)                    Martin Sosland (TX Bar No. 18855645)
 Sarah Tomkowiak (pro hac vice)                  Candice Carson (TX Bar No. 24074006)
 555 Eleventh Street, NW, Suite 1000             2911 Turtle Creek Blvd., Suite 1400
 Washington, DC 20004                            Dallas, TX 75219
 Telephone: (202) 637-2200                       Telephone: (469) 680-5502

 Jeffrey E. Bjork (pro hac vice)
 Kimberly A. Posin (pro hac vice)
 355 South Grand Avenue, Suite 100
 Los Angeles, CA 90071
 Telephone: (213) 485-1234

 Kathryn George (pro hac vice)
 330 North Wabash Avenue, Suite 2800
 Chicago, IL 60611
 Telephone: (312) 876-7700

 Counsel for UBS Securities LLC and UBS
 AG London Branch

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION
In re                                        §
                                             §
                                                                           Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1          §
                                             §
                                                                    Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                     Adversary Proceeding
v.                                           §
                                             §
                                                                          No. 21-03020
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §
UBS’S NOTICE OF DENIAL OF FOREIGN NON-PARTY SENTINEL REINSURANCE,
LTD.’S LETTER REQUEST FOR PROTECTIVE ORDER IN N.Y. SUPREME COURT



   1
      The last four digits of the Debtor’s taxpayer identification number are 6725. The Debtor’s
headquarters and service address is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
 Case 21-03020-sgj Doc 116 Filed 09/20/21            Entered 09/20/21 16:44:14       Page 2 of 5




       UBS Securities LLC and UBS AG London Branch (together, “UBS”), plaintiffs in this

adversary proceeding and creditors in the above-captioned chapter 11 case, submit this notice to

inform the Court of recent developments that are relevant to its consideration of Foreign Non-

Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 106] (the “Motion”

filed by “Sentinel”), which seeks to stay compliance with a Subpoena to Produce Documents,

Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding

served on Beecher Carlson Insurance Services, LLC (“Beecher”).

       1.      On September 2, 2021, Sentinel filed the Motion, asking this Court to stay

Beecher’s compliance with a subpoena that UBS issued in this adversary proceeding. UBS issued

that subpoena to investigate fraudulent transfers to Sentinel of hundreds of millions of dollars of

assets from funds previously or currently managed or controlled by the Debtor.

       2.      On September 3, 2021, Sentinel filed a similar letter request in UBS v. Highland

Capital Management, L.P., Index No. 650097/2009 (N.Y. Sup. Ct.) (the “New York Action”),

asking Justice Melissa A. Crane to stay compliance with a similar subpoena that UBS has issued

on Beecher in that case. See Sentinel’s Mot. [Adv. Dkt. No. 106] ¶ 26 n.5 (“In addition to this

Motion, Sentinel will also be filing a request for a protective order in the UBS Action in New York

State Court where Beecher has been served with a subpoena duces tecum.”). Sentinel’s arguments

in that letter motion were substantially similar to the arguments it advances here. So too for UBS’s

arguments in opposition.

       3.      UBS’s subpoena in the New York Action seeks virtually the same documents from

Beecher as UBS’s subpoena in this case. The only differences between the two subpoenas are that

(a) the subpoena in the New York Action covers the period December 5, 2008, to the present while

the subpoena in this case covers only January 1, 2016, to the present; and (b) the subpoena in the




                                                 2
Case 21-03020-sgj Doc 116 Filed 09/20/21             Entered 09/20/21 16:44:14       Page 3 of 5




New York Action seeks documents about three more funds previously or currently managed or

controlled by the Debtor than the subpoena in this case. In other words, the New York Action

subpoena has a more expansive scope.2

       4.      On September 16, 2021, Justice Crane categorically denied Sentinel’s letter request

for a protective order by email. Beecher’s counsel has confirmed to UBS that Beecher will begin

rolling productions of the documents in the New York Action forthwith.

 Dated: September 20, 2021                          Respectfully submitted,

                                                    /s/ Sarah Tomkowiak

                                                    LATHAM & WATKINS LLP
                                                    Andrew Clubok (pro hac vice)
                                                    Sarah Tomkowiak (pro hac vice)
                                                    555 Eleventh Street, NW, Suite 1000
                                                    Washington, DC 20004
                                                    Telephone: (202) 637-2200
                                                    Email:    andrew.clubok@lw.com
                                                              sarah.tomkowiak@lw.com

                                                    Jeffrey E. Bjork (pro hac vice)
                                                    Kimberly A. Posin (pro hac vice)
                                                    355 South Grand Avenue, Suite 100
                                                    Los Angeles, CA 90071
                                                    Telephone: (213) 485-1234
                                                    Email:     jeff.bjork@lw.com
                                                               kim.posin@lw.com

                                                    Kathryn George (pro hac vice)
                                                    330 North Wabash Avenue, Suite 2800
                                                    Chicago, IL 60611
                                                    Telephone: (312) 876-7700
                                                    Email:    kathryn.george@lw.com




   2
        But production of the documents in the New York Action does not obviate the need for the
production in this case as well—because the confidentiality orders in both cases generally restrict
the use of confidential documents to the case they were produced in.


                                                3
Case 21-03020-sgj Doc 116 Filed 09/20/21    Entered 09/20/21 16:44:14    Page 4 of 5




                                           BUTLER SNOW LLP
                                           Martin Sosland (TX Bar No. 18855645)
                                           Candice Carson (TX Bar No. 24074006)
                                           2911 Turtle Creek Blvd., Suite 1400
                                           Dallas, TX 75219
                                           Telephone: (469) 680-5502
                                           Email:    martin.sosland@butlersnow.com
                                                     candice.carson@butlersnow.com

                                           Counsel for UBS Securities LLC and UBS AG
                                           London Branch




                                       4
Case 21-03020-sgj Doc 116 Filed 09/20/21           Entered 09/20/21 16:44:14      Page 5 of 5




                               CERTIFICATE OF SERVICE

       I, Martin A. Sosland, certify that UBS’s Notice of Denial of Foreign Non-Party

Sentinel Reinsurance, Ltd.’s Letter Request for Protective Order in N.Y. Supreme Court

was filed electronically through the Court’s ECF system, which provides notice to all parties of

interest.Dated: September 20, 2021

                                                   /s/ Martin A. Sosland
                                                   MARTIN A. SOSLAND




                                               5
